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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


Hong Kong Yu’en E-Commerce Co.          )
Limited,                                )
                                        )
            Plaintiff,                  )
                                        )
                                        )
     v.                                 )    No. 24 C 12483
                                        )
                                        )
The Individuals, Corporations,          )
Limited Liability Companies,            )
Partnerships and                        )
Unincorporated Associations             )
Identified in Schedule “A”              )
Hereto,                                 )
                                        )
            Defendants.                 )


                      Memorandum Opinion and Order

     Plaintiff filed this suit for trademark infringement against

twenty defendants. Like many similar suits in this district, it

filed the complaint under seal and moved ex parte for a temporary

restraining order (“TRO”) and asset freeze, so as not to alert the

defendants to the action and give them the opportunity to transfer

their assets beyond plaintiff’s reach. With the TRO in place,

plaintiff notified defendants of the action, later moving to

convert the TRO to a preliminary injunction, which I granted on

January 22, 2025. One of the defendants, Funlingo, has since

appeared in the case through counsel and now moves to dissolve the
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preliminary    injunction        and    for   leave      to   conduct     expedited

discovery. For the following reasons, the motion is granted in

part and denied in part.

                                         I.

     To obtain a preliminary injunction, a party must establish

that “it is likely to succeed on the merits, that it has no adequate

remedy at law, and that it will suffer irreparable harm in the

absence of an injunction.” DM Trans, LLC v. Scott, 38 F.4th 608,

617 (7th Cir. 2022) (citation omitted). If it does so, the court

then “balances the harms to the moving party, other parties, and

the public.” Eli Lilly & Co. v. Arla Foods, Inc., 893 F.3d 375,

381 (7th Cir. 2018) (citation omitted).

     Plaintiff     has     already      secured    a     preliminary     injunction

against all defendants, including Funlingo. Funlingo contends that

the preliminary injunction should be lifted under Federal Rule of

Civil Procedure 65(b)(4), but that provision addresses motions to

dissolve temporary restraining orders issued without notice to the

adverse    party   rather        than   motions     to    dissolve      preliminary

injunctions that were issued with notice. Nonetheless, courts’

authority to dissolve or modify preliminary injunctions is well

established. See St. John’s United Church of Christ v. City of

Chicago, 502 F.3d 616, 627 (7th Cir. 2007) (“[A]ny injunction

issued    by   a   court    of     equity     is   itself     subject    to   later

modification.” (citing Rufo v. Inmates of Suffolk County Jail, 502

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U.S. 367 (1992); additional citation omitted)). Courts in this

district consider the same factors for dissolving a preliminary

injunction as those applied when granting or denying it in the

first place. See, e.g., Antsy Labs, LLC v. Individuals, Corps.,

Ltd. Liab. Cos., P’ships, & Unincorporated Ass’ns Identified on

Schedule A Hereto, No. 21 C 3289, 2022 WL 17176498, at *1–2 (N.D.

Ill. Nov. 23, 2022). “The court asks whether ‘the expected cost of

dissolving       the    injunction--considering             the   probability        that

dissolution would be erroneous because the plaintiff really is

entitled to injunctive relief, and the consequences of such an

error--[is]       greater     or   less     than      the   expected    cost    of    not

dissolving the injunction.’ ‘If greater, the injunction should not

be dissolved; if less, it should be.’” Id. (quoting Centurion

Reinsurance Co. v. Singer, 810 F.2d 140, 143 (7th Cir. 1987)).

       Plaintiff       accuses     Funlingo      of    infringing      its    “Modlily”

trademark. In support of its motion for a temporary restraining

order, and later its motion for a preliminary injunction, plaintiff

submitted a list of 129 URLs for various Funlingo product postings

on    Amazon.    ECF    8-1   at   13–15.       Plaintiff    does   not      argue   that

“Modlily” appears in the product name or description of these

listings, or anywhere on the webpage itself. 1 Instead, plaintiff’s




1 Plaintiff submitted evidence of the term “Modlily” appearing on
the webpage for most of the other defendants.
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evidence consists of the appearance of the term “Modlily” in the

post-domain paths of the identified URLs. 2

      When the preliminary injunction was issued in this case,

Funlingo had not yet appeared (though it had supposedly been served

and given notice of the motion for a preliminary injunction), nor

did it or any defendant file a brief in opposition. Funlingo’s

argument now calls into question whether use of a trademarked term

in a post-domain path of a URL likely constitutes infringement

where that is the only alleged use of the term. Funlingo points to

Interactive      Products,    in   which     the   Sixth   Circuit    held    that

“[b]ecause post-domain paths do not typically signify source, it

is unlikely that the presence of another’s trademark in a post-

domain path of a URL would ever violate trademark law.” 326 F.3d

at 698; see id. at 696–97 (post-domain paths “merely show[] how

the website’s data is organized within the host computer’s files”).

The court contrasted post-domain paths with domain names, which do


2 “Each website has a corresponding domain name.” Interactive
Prods. Corp. v. a2z Mobile Off. Sols., Inc., 326 F.3d 687, 691
(6th Cir. 2003) (citation omitted). In this case, that is
www.amazon.com. The domain name may be followed by a post-domain
path. Id. To take one example from the list submitted by plaintiff:
/Funlingo-Square-Modlily-Coverage-3X-
Large/dp/B0C8RZL9Y9?th=1&psc=1. Funlingo argues that the post-
domain path can be altered and still lead to the same webpage. For
example, it explains that deleting the word “Modlily” from the
post-domain paths of all of the referenced URLs does not change
the webpages to which those URLs lead. Because as explained below
plaintiff fails to offer any meaningful response to Funlingo’s
arguments, I need not decide whether this particular assertion of
Funlingo’s is true or material.
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signify source and can therefore support a trademark infringement

claim. Id. at 696.

     The view that trademark law only reaches instances where a

trademark is used to signify the source of a product has been

endorsed by courts in this district. See, e.g., McDavid Knee Guard,

Inc. v. Nike USA, Inc., No. 08 CV 6584, 2010 WL 151998, at *2 (N.D.

Ill. Jan. 14, 2010) (“‘If defendants are only using [plaintiff’s]

trademark in a “non-trademark” way--that is, in a way that does

not identify the source of a product--then trademark and false

designation of origin laws do not apply.’” (quoting Interactive

Prods., 326 F.3d at 695)). Furthermore, several district courts

outside of this district have agreed with the Sixth Circuit’s

specific holding that URL post-domain paths are unlikely to support

trademark infringement claims. See, e.g., Instant One Media, Inc.

v. EzFaux Decor, LLC, No. 1:19-cv-00540-WMR, 2022 WL 4596641, at

*2 (N.D. Ga. July 26, 2022) (vacating preliminary injunction in

the face of “persuasive authority holding that words or phrases

appearing   in    post-domain     URLs     do   not   constitute     trademark

infringement”); Melwani v. Amazon.com, Inc., No. C21-1329RSM, 2022

WL 670919, at *4 (W.D. Wash. Mar. 7, 2022) (“The Court agrees that

the URL merely shows how the website’s data is organized and/or

the search term entered by the consumer, and that this does not

violate trademark law.” (citing Interactive Prods., 326 F.3d at

696–97)).

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       In response, plaintiff does not contest Funlingo’s position

that    terms   appearing        in    post-domain    paths    cannot      constitute

infringement, nor does it present any additional evidence of

infringement. The question at this stage is not whether Funlingo

is right that words in a URL’s post-domain path cannot give rise

to trademark infringement, and therefore I do not resolve that

question here. Rather, the question is whether plaintiff has

carried its burden to establish a likelihood that it will succeed

on the merits, which requires more than a “mere possibility of

success.” Ill. Republican Party v. Pritzker, 973 F.3d 760, 762

(7th Cir. 2020) (citing Winter v. Nat. Res. Def. Council, 555 U.S.

7, 20 (2008)). 3 Plaintiff’s silence in the face of Funlingo’s well-

supported argument does not meet that burden, so the preliminary

injunction      is       dissolved     as   to   Funlingo.    In   light    of   this

disposition,         I    need   not    consider     Funlingo’s    unclean       hands

argument.




3 While in most contexts the movant bears the burden of persuasion
on a motion to vacate, I agree with courts in this district that
place the burden on the party seeking to maintain a preliminary
injunction where, like here, the injunction was “granted without
a hearing or adversarial briefing.” Jiaxing Zichi Trade Co. v.
Yang, No. 21-cv-973, 2021 WL 4498654, at *3 n.3 (N.D. Ill. Aug.
19, 2021); see also 42 Am. Jur. 2d Injunctions § 291 (“[W]hen a
temporary injunction is issued under circumstances resembling a
temporary restraining order, the burden of proof may be on the
party seeking the order.”).
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                                         II.

     Funlingo       also   seeks    expedited         discovery,     consisting    of

plaintiff’s production of the following:

     1.     All documents filed under seal in this case, or
            alternatively, an order directing the Court Clerk
            to unseal all documents previously filed under seal
            in this matter.

     2.     All documents that Amazon has produced to Plaintiff
            thus far in this case.

     3.     The “Schedule A” filed under seal as Exhibit 2 to
            the Complaint in the earlier case Hong Kong Yu’En
            E-Commerce v. USA 1ST Store, Case No. 1:24-cv-
            11029, with the docket number “Case: 1:24-cv-11029,
            Document #: 2-2.”

Mot., ECF 47 at 15.

     The first request appears to have been resolved when I granted

Funlingo’s separate unopposed motion for access to documents filed

under seal, see ECF 49, 53, so it is denied as moot.

     The second request is also denied. Funlingo argues that these

documents   might     reveal     that    plaintiff      does   not   have    a   valid

trademark   claim     against     it    and    that    the   documents   might    aid

Funlingo’s defense or possible counterclaims. But it presents no

reason why, in light of dissolution of the preliminary injunction,

it needs those documents immediately. Funlingo may obtain relevant

documents in the regular course of discovery, which might include

the documents requested here.

     The    basis    for   the     third       request--for    the    list   of    the

defendants originally sued in a separate case in this district--

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is Funlingo’s suspicion that plaintiff has flouted Judge Daniel’s

order and threat of sanctions in Hong Kong Yuen E-Commerce Co. v.

USA 1St Store (Zando Exclusive Agency), No. 24-cv-11029 (N.D. Ill.)

(the “Former Action”). In that case, like this one, plaintiff filed

a “Schedule A” complaint, suing multiple defendants for infringing

its “Modlily” trademark. Judge Daniel, skeptical that joinder was

appropriate, ordered plaintiff to submit a supplemental memorandum

“addressing the propriety of joinder” or alternatively to file an

amended complaint alleging the basis for joinder. See Former

Action, ECF 5. He further ordered a rule to show cause why

plaintiff’s unsupported allegations regarding defendants’ joint

action did not violate Federal Rule of Civil Procedure 11(b)(3).

Id. Plaintiff opted to file an amended complaint in that case

dropping all but one defendant, after which Judge Daniel discharged

the rule to show cause.

      I agree that it would be troubling if, dissatisfied with Judge

Daniel’s order, plaintiff simply turned around and refiled against

the   same   defendants    before     a       different   judge.   Accordingly,

Funlingo’s request for expedited discovery is granted on this

front: it may serve an interrogatory on plaintiff seeking the

identities of all defendants named in the original complaint filed

in the Former Action.




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                                     III.

     For the foregoing reasons, Funlingo’s motion to dissolve the

preliminary    injunction     is   granted.    Its   motion    for   expedited

discovery     is   granted   to    the   extent   that    it   may   serve       an

interrogatory on plaintiff for the identities of all defendants

named in the original complaint in the Former Action. The motion

for expedited discovery is otherwise denied.




                                     ENTER ORDER:



                                     _____________________________
                                            Elaine E. Bucklo
                                      United States District Judge

Dated: May 15, 2025




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